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     ""':°.1   458   ~ (Rev. 9/00) Judgment in a Criminal Case
                      Sheet 1
                                                                                                                                          --        _.,./


                                              UNITED STATES DISTRICT CRljl}:Z6 AM 9:!:!
                                                  SOUTHERN DISTRlCT OF CALIFORNIA
                                                                                                            1""1 ~')}~   t,~ t<,   ~",   ,',    .


                       UNITED STATES OF AMERICA                                      JUDGMENTstliill~ CIiJ'MINAL CASE
                                        v.                                           (For Offenses COm~i~fter Novem~~~~;,~ 987)

                                JUAN RAMOS [4]                                       Case Number: IOt'R4363-004-BTM
                                                                                     KRlSTIN 1. KRAUS, FEDERAL DEFENDERS, INC.
                                                                                     Defendant's Attorney
    REGISTRA TION NO. 22665298

    D
    THE DEFENDANT:
    jgJ pleaded guilty to count(s) I OF THE SUPERSEDING INFORMATION
     o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following olfense(s):
                                                                                                                                                                 Count
    Title & Section                          Nature ofOtIense                                                                                                   Number(s)
21 USC 843(b)                         ULAWFUL USE OF A COMMUNICATION FACILITY                                                                                       I
21 USC 843(b)                         ULAWFUL USE OF A COMMUNICATION FACILITY                                                                                       2




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D Count(s)
                                                            ----------------------------------
                                                                                      is DareD dismissed on the motion of the United States.
 129 Assessment:$200.00 ($ 100 per count)at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program.

 129 Fine waived                                    D   Forfeiture pursuant to order filed
                                                                                                   -----------                                 , included herein.
       IT IS ORDERED that the defendant shal1 notify the United States attorney for this district within 30 days of any change of name, residence.
 or mailing address until al1 fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, thc
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               JULY 19,2011




                                                                                                                                                              10CR4363-004-BTM
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AO 245,B     iRev. 9/00) Judgment in Criminal Case
             Sheet 2    Imprisonment

                                                                                              Judgment- Page _ _2 _ of          4
 DEFENDANT: JUAN RAMOS [4]
CASE NUMBER: lOCR4363..o04-BTM
                                                             IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
           FORTY-EIGHT (48) MONTHS ON COUNT 1; FORTY-TWO (42) MONTHS ON COUNT 2, CONSECUTIVE TO
           COUNT I COR A TOTAL IMPRISONMENT OF NINETY (90) MONTHS.             ~



    D S'"tenee impo'''' pu,"uon' to Title 8 USC Sedron 1326(b).                              ~O~
    12:9 The court makes the following recommendations to the Bureau of Prisons:             UNlTED STATES DISTRICT JUDGE
           That the defendant participate in the RDAP program. That the defendant serve his sentence in the Western Region.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
             Oat                                     Oa.m.    Op.m.         on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

    o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0 ____________________________________________________
            o   as notified by the United States Marshal.
            o   as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

 I have executed this judgment as follows:

           Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                       By _ _ _ _~~~~~~~~~~~-----
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                lOCR4363-004-BTM
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AO 245p       (.Rev. 311 0) Judg~ent in a Criminal Case for Revocations
    ,         Sheet 3 - SupelVlsed Release
                                                                                                            Judgment-Page -----l....- of _ _4:...-_ _
DEFENDANT: JUAN RAMOS [4]
CASE NUMBER: lOCR4363-004-BTM
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
ONE (I) YEAR AS TO COUNT I; ONE (1) YEAR AS TO COUNT 2, CONCURRENT TO COUNT 1.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, ifapplicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reason s;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
                                                                                                                              lOCR4363-004-BTM
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                   (Rev, 9iOO) Judgment in a Criminal Case
                   Sheet 4    Special Conditions
                                                                                                        Judgment-Page   -...:I.- of _-..:..4_ _
       DEFENDANT: JUAN RAMOS [4]                                                                   II
       CASE NUMBER: lOCR4363-004-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report alI vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
o report
  Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
         and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
/8l Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                   days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o   Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.

o If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                               10CR4363-004-BTM
